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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007




                                                     February 26, 2021

BY ECF & ELECTRONIC MAIL

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits under seal the enclosed unredacted version of its
memorandum of law and accompanying exhibits in opposition to the defendant’s twelve pre-trial
motions. Additionally, the Government respectfully submits proposed redactions to its
memorandum of law and three exhibits, Exhibits 1, 5, and 7. Consistent with the redactions
contained in the defendant’s motions, the Government’s proposed redactions are narrowly tailored
to (1) cover information implicating the privacy interests of third parties, (2) cover Confidential
Material produced by the Government in discovery and governed by paragraph 15 of the Protective
Order in this case (Dkt. 36), (3) cover information submitted under seal to other judicial officers
or information another judicial officer has determined should remain under seal, and (4) protect
the integrity of the Government’s ongoing investigation.

        In addition, the Government respectfully requests that certain exhibits be filed entirely
under seal. In particular, the Government respectfully submits that (1) Exhibits 8 and 9, filings
submitted under seal to other judicial officers, should similarly be filed under seal in this case
while the Government’s grand jury investigation remains ongoing; and (2) Exhibit 11 should be
filed under seal because it contains information which another judicial officer has determined
should remain under seal.
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        Accordingly, the Government respectfully requests that the Court permit the Government
to publicly file its memorandum of law and exhibits with the enclosed proposed redactions.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 United States Attorney


                                           By:      s/
                                                 Maurene Comey / Alison Moe /
                                                 Lara Pomerantz / Andrew Rohrbach
                                                 Assistant United States Attorneys
                                                 Southern District of New York

Cc: All Counsel of Record (By email)
